Case 2:22-cv-00223-Z         Document 215          Filed 01/16/25       Page 1 of 4       PageID 12227


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

 STATE OF MISSOURI, et al.,

             Intervenor Plaintiffs,

 Vv.                                                            2:22-CV-223-Z

 U.S. FOOD AND DRUG
 ADMINISTRATION, et al.,

             Defendants,

  and

  DANCO LABORATORIES, LLC,

             Intervenor Defendant.

                                                 ORDER

         Before the Court is Intervenor Plaintiffs’ Motion for Leave to File Amended Complaint

 (“Motion”) (ECF No. 195), filed October 11, 2024. Intervenor Plaintiffs request leave to amend “to

 provide greater factual support for the theories presented in the initial complaint.” ECF No. 195 at 1.

 Defendants and Intervenor Defendant oppose the Motion. /d. at 2.

         Federal Rule of Civil Procedure 15(a) governs amendment prior to trial. A “party may amend

 its pleading only with the opposing party’s written consent or the court’s leave. The court should

 freely give leave when justice so requires.” FED. R. Civ. P. 15(a)(2). The presumption is that a court

 grants leave unless it “possess[es] a ‘substantial reason’ to deny a party’s request for leave to amend.”

 Marucci Sports, L.L.C. v. Nat’l Collegiate Athletic Ass'n, 751 F.3d 368, 378 (Sth Cir. 2014) (quoting

 Jones v. Robinson Prop. Grp., L.P., 427 F.3d 987, 994 (Sth Cir. 2005). A district court has discretion

 whether to grant a motion for leave to amend or not. Quintanilla v. Tex. Television Inc., 139 F.3d 494,

 499 (Sth Cir. 1998). In exercising its discretion, a court examines “if there is undue delay, bad faith or
Case 2:22-cv-00223-Z         Document 215         Filed 01/16/25       Page 2 of 4       PageID 12228


 dilatory motive, undue prejudice or futility of the amendment.” Dussouy v. Gulf Coast Inv. Corp., 660

 F.2d 594, 597 (Former 5th Cir. 1981). If a court denied leave to amend due to futility, it is not an

 abuse of discretion. Briggs v. Mississippi, 331 F.3d 499, 508 (5th Cir. 2003). “An amendment is futile

 if it would fail to survive a Rule 12(b)(6) motion.” Marucci Sports, 751 F.3d at 378 (citing Briggs, 331

 F.3d at 508).

         Defendants and Intervenor Defendant do not argue that leave to amend should be denied due

 to undue delay, bad faith or dilatory move, or undue prejudice. See ECF Nos. 198; 201; 211; 212.

 Instead, they argue that amendment would be futile here because Intervenor Plaintiffs lack venue.

 ECF Nos. 198 at 20; 201 at 10. They claim that the Intervenor Plaintiffs lack any relevant connection

 to the Northern District of Texas and that courts sometimes deny leave to amend on venue grounds.

 Recall that an amendment is only futile if it would fail to survive a motion to dismiss standard. The

 nonbinding cases that Defendants and Intervenor Defendant cite meet this standard. The court in

 Hamilton v, Duke Energy Bus. Servs., LLC had already dismissed the action for lack of venue and so

 cleared the motion to dismiss standard. No. 4:21-cv-4070, 2023 WL 2332248, at *4 (S.D. Tex. Mar.

 1, 2023). In Chavez v. First National Bank of South Africa, the court denied leave to amend because a

 valid forum selection clause governed and would cause any amendment to still fail a motion to

 dismiss. No. DR-15-CV-065, 2015 WL 13036708, at *4 (W.D. Tex. Nov. 24, 2015). And in Total

 Safety U.S., Inc. v. Rowland, the court denied leave to amend because a party failed to allege an LLC’s

 members’ residency in the appropriate district and further failed to dispute that none of the claims

 occurred in the court’s district. No. 13-6109, 2014 WL 4693114, at *8 (E.D. La. Sept. 22, 2014). Of

 course, such basic shortfalls would fail a motion to dismiss standard. Defendants and Intervenor

 Defendant deftly quote lines to seemingly further their position but do not further examine their

 nonbinding cases to evaluate whether they are truly persuasive to their position.
Case 2:22-cv-00223-Z         Document 215         Filed 01/16/25      Page 3 of 4      PageID 12229


         Here, Defendants and Intervenor Defendant fail to show that Intervenor Plaintiffs’ Amended

 Complaint would surely fail a motion to dismiss. The Rule       15(a) standard for leave to amend is

 “liberal” and a court needs a “substantial reason” to deny leave. S&W Enters., L.L.C. v. SouthTrust

 Bank of Ala, NA, 315 F.3d 533, 536 (Sth Cir. 2003); Marucci Sports, 751 F.3d at 378 (internal

 quotation omitted). Leave to amend is “by no means automatic.” Halbert v. City of Sherman, 33 F.3d

 526, 529 (Sth Cir. 1994). But there is a “bias in favor of granting leave to amend.” Lyn-Lea Travel

 Corp. v. Am. Airlines, 283 F.3d 282, 286 (Sth Cir. 2002). Considering Rule 15(a)’s high standard for

 denying leave to amend, Defendants’ failure to conclusively demonstrate that venue disputes at this

 juncture would render amendment fully futile does not provide the Court with a “substantial reason”

 to deny leave. Unlike in the cases Defendants and Intervenor Defendant cite, venue remains disputed

 here and should be properly dealt with at a phase where each party may fully argue the issue.

 Accordingly, the Court GRANTS        Intervenor Plaintiffs’ Motion. The Court ORDERS        Intervenor

 Plaintiffs to file the amended complaint and accompanying exhibits found at ECF No. 195-1 to 195-7

 as a separately filed amended complaint and exhibits.

        Defendants and Intervenor Defendant have pending Motions to Dismiss against the original

 plaintiffs and Intervenor Plaintiffs. The original plaintiffs have since voluntarily dismissed their

 claims. ECF No. 206. And following this Order, Intervenor Plaintiffs will file an Amended Complaint.

 As a substantial portion of the pending motions to dismiss focus on original plaintiffs’ complaint and

 the only remaining complaint in this action will soon be amended, the Court DENIES as MOOT the

 pending motions to dismiss (ECF No. 196 and ECF No. 199). See Bridgestone Ams. Tire Operations,

 LLC v. Speedways Tyres Ltd., No. 4:22-cv-0145, 2023 WL 2574576, at *2 (N.D. Tex. Mar. 20, 2023)

 (‘An amended complaint generally renders pending motions moot.”); Garza-Selcer v. 1600 Pac.

 Subtenant, LLC, No. 3:15-cv-03791, 2016 WL      11474103, at *2 (N.D. Tex. Aug. 30, 2016) (“When a
Case 2:22-cv-00223-Z         Document 215         Filed 01/16/25    Page 4 of 4     PageID 12230


 motion to dismiss is filed against a superseded complaint, courts ordinarily deny the motions as

 moot.”). Renewed motions to dismiss in response to Intervenor Plaintiffs’ forthcoming amended

 complaint will provide Defendants and Intervenor Defendant opportunity to focus their arguments and

 space on the one complaint remaining in this action.

        SO ORDERED.                                                       a
        January /@, 2025

                                                        MATTHEW J. KACSMARYK
                                                        UNITED STATES DISTRICT JUDGE
